Case 5:25-cv-00917-SSS-SHK      Document 10    Filed 05/14/25   Page 1 of 5 Page ID
                                      #:73


 1   Christian Contreras, Esq., (SBN 330269)
     LAW OFFICES OF CHRISTIAN CONTRERAS
 2   PROFESSIONAL LAW CORPORATION
     360 E. 2nd St., 8th Floor
 3   Los Angeles, California 90012
     Tel: (323) 435-8000; Fax: (323) 597-0101
 4   Email:CC@Contreras-Law.com
 5   Sam Harton, Pro Hac Vice forthcoming
     Romanucci and Blandin, LLC
 6   321 N. Clark Street, Suite 900
     Chicago, IL 60654
 7   Tel: 312-253-8632; Fax: 312-458-1004
     Email: sharton@rblaw.net
 8
     Attorneys for Plaintiffs, ANTHONY WRIGHT, et al.
 9

10
                          UNITED STATES DISTRICT COURT

11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     ANTHONY WRIGHT, individually,    ) CASE NO.: 5:25-cv-00917-SSS-SHK
13                                    )
     and as Guardian ad Litem of L.W., a
                                      )
14   minor, A.G., a minor, and H.W., a) PETITION TO APPOINT GUARDIAN
     minor; NICOYA WRIGHT,            ) AD LITEM
15                                    )
     individually; L.W., individually; A.G.,
                                      )
16   individually; H.W., individually,)
                                      )
17                                    )
                                      )
18          Plaintiffs,               )
                                      )
19                                    )
                   v.                 )
20                                    )
     SAN BERNARDINO COUNTY            )
21                                    )
     SHERIFF’s DEPARTMENT, a public )
22   entity; SAN BERNARDINO           )
     COUNTY, a public entity; SHANNON )
23                                    )
     DICUS, individually; JAMES       )
24   WILLIAMS, individually; and DOES )
     1-10, individually,              )
25                                    )
                                      )
26          Defendants.               )
                                      )
27

28

                                               1
                           PETITION TO APPOINT GUARDIAN AD LITEM
Case 5:25-cv-00917-SSS-SHK        Document 10     Filed 05/14/25   Page 2 of 5 Page ID
                                        #:74


 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.      STATEMENT OF FACTS
 3          L.W. is the biological son of petitioner, ANTHONY WRIGHT, and is four (4)
 4   years old. H.W. is the biological son of petitioner, ANTHONY WRIGHT, and is two
 5   (2) years old. A.G. is the biological son of petitioner, ANTHONY WRIGHT, and is
 6   fifteen (15) years old. ANTHONY WRIGHT has no interests adverse to those of his
 7   biological children in the instant action.
 8          On April 25, 2023, ANTHONY WRIGHT was severely and permanently injured
 9   at due to the conduct of Defendants at the Glen Helen Rehabilitatoin Center in San
10   Bernardino County. L.W., H.W., and A.G. are Plaintiffs in this action based on their
11   own personal injuries stemming from their father’s lifelong injuries, the violation of
12   their substantive due process rights, and the deprivation of familial association.
13          L.W., H.W., and A.G. have no other appointed representative or guardian.
14   Accordingly, as minors, they can only bring their claims by way of a guardian ad litem.
15    II.      THIS COURT IS EMPOWERED TO APPPOINT PETITIONER AS
16             GUARDIAN AD LITEM
17          Rule 17(c) of the Federal Rules of Civil Procedure, provides as follows:
18          “An infant or incompetent person who does not have a duly appointed
19   representative may sue by a next friend or guardian ad litem. The court shall appoint a
20   guardian ad litem for an infant or incompetent person not otherwise represented in an
21   action or shall make such other orders as it deems proper for the protection of the infant
22   or incompetent person.”
23   III.      A PARENT WHO IS A PLAINTIFF CAN SERVE AS A GUARDIAN
24             AD LITEM
25          “Fit parents are presumed to act in the best interests of their children.” M.P. by
26   & through McCollum v. Cnty. of San Joaquin, No. 2:23-CV-00245 AC, 2023 WL
27   3343956, at *1 (E.D. Cal. May 10, 2023) (citing Troxel v. Granville, 530 U.S. 57, 66
28   (2000); Doe v. Heck, 327 F.3d 492, 521 (7th Cir. 2003)). However, “if the parent has
                                                  2
                             PETITION TO APPOINT GUARDIAN AD LITEM
Case 5:25-cv-00917-SSS-SHK        Document 10     Filed 05/14/25    Page 3 of 5 Page ID
                                        #:75


 1   an actual or potential conflict of interest with [their] child, the parent has no right to
 2   control or influence the child's litigation.” Molesky for J.M. v. Carillo, No. 1:22-cv-
 3   1567-ADA-CDB, 2022 WL 17584396, *1 (E.D. Cal. Dec. 12, 2022) (quoting Williams
 4   v. Super. Ct. of San Diego, 147 Cal. App. 4th 36, 50 (2007)).
 5         Nevertheless, “when a parent brings an action on behalf of a child, and it is
 6   evident that the interests of each are the same, no need exists for someone other than
 7   the parent to represent the child's interests under Rule 17(c).” Gutierrez v. City of
 8   Visalia, No. 121CV01700JLTHBK, 2022 WL 1489479, at *2 (E.D. Cal. May 11, 2022)
 9   (citations omitted). “Generally, there is no inherent conflict of interest when a minor is
10   represented by a parent who is a party to the lawsuit and who has the same interests as
11   the child. J.A. v. Cnty. of Madera, No. 121CV00252NONEEPG, 2021 WL 826219, at
12   *2 (E.D. Cal. Mar. 4, 2021) (citing Burke v. Smith, 252 F.3d 1260, 1264 (11th Cir.
13   2001); see also Brown v. Alexander, 2015 WL 7350183 at *2 (N.D. Cal. Nov. 20, 2015)
14   (“In general, a parent who is also a party to the lawsuit is presumed to be a suitable
15   guardian ad litem, and so the court often appoints the parent as guardian ad litem upon
16   receipt of an ex parte application without exercising much discretion.”) (citation
17   omitted).
18         Here, it is presumed that ANTHONY WRIGHT will act in the best interest for
19   his children, L.W., H.W., and A.G. He has the same interests as his children. Therefore,
20   ANTHONY WRIGHT, as the biological father of L.W., H.W., and A.G., is an
21   appropriate candidate to serve as guardian ad litem for purposes of pursuing an action
22   for the violation of her biological daughter’s constitutional rights.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                                 3
                             PETITION TO APPOINT GUARDIAN AD LITEM
Case 5:25-cv-00917-SSS-SHK     Document 10    Filed 05/14/25   Page 4 of 5 Page ID
                                     #:76


 1   IV.      CONCLUSION
 2         According, petitioner respectfully request that this Court grant the instant
 3   petition.
 4   Dated: May 7, 2025            LAW OFFICES OF CHRISTIAN CONTRERAS
                                     A PROFESSIONAL LAW CORPORATION
 5

 6                                 By:
                                   Christian Contreras, Esq.
 7                                 Attorneys for Plaintiffs,
                                   ANTHONY WRIGHT, et al.
 8

 9

10

11

12

13

14

15

16

17

18

19
20
21

22

23

24

25

26

27

28

                                             4
                          PETITION TO APPOINT GUARDIAN AD LITEM
Case 5:25-cv-00917-SSS-SHK        Document 10      Filed 05/14/25   Page 5 of 5 Page ID
                                        #:77




 1                        DECLARTION OF ANTHONY WRIGHT
 2         I, ANTHONY WRIGHT, declare as follows:
 3         1.     That the matters contained in this declaration are true of my own personal
 4   knowledge, and I could competently testify thereto if called upon to do so.
 5         2.     That the purpose of the present declaration is to support the present
 6   petition for this court's order appointing your declarant as the Guardian Ad Litem for
 7   L.W., A.G., and H.W.
 8
           3.     L.W. is my biological son and is four (4) years old. H.W. is my biological
 9   son, and is two (2) years old. A.G. is my biological son, and is fifteen (15) years old.
10         4.     That I have no interests adverse to the interests of LW., A.G., or H.W. and
11   that L.W., A.G., and H.W. currently lives with me.
12         5.     That I have been informed by counsel and therefore understand that the
13   appointment of a Guardian Ad Litem is necessary under the applicable state and federal
14   rules which control the filing of lawsuits.
15         6.     That I understand that as a minor, LW., A.G., and H.W., cannot bring or
16   participate in a suit absent a Guardian Ad Litem or other formal representative.
17         7.     That I therefore respectfully request the present court to issue an order
18
     appointing me as Guardian Ad Litem for LW., A.G., and H.W., in this action.
19         I declare under the penalty of perjury under the law of the United States that the
20   foregoing is true and correct.
21         Executed on May 7, 2025 in San Bernardino County, California.
22

23                                    /s/ Anthony Wright____
                                      ANTHONY WRIGHT
24

25

26

27

28                                                 1
                                DECLARATION OF ANTHONY WRIGHT
